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                                                                         FILED
                   UNITED STATES COURT OF APPEALS                        NOV 16 2015

                                                                     MOLLY C. DWYER, CLERK
                           FOR THE NINTH CIRCUIT                       U.S. COURT OF APPEALS




YASSIR FAZAGA; ALI UDDIN MALIK;               No. 12-56867
YASSER ABDELRAHIM,
                                              D.C. No. 8:11-cv-00301-CJC-
             Plaintiffs - Appellees,          VBK
                                              Central District of California,
v.                                            Santa Ana

FEDERAL BUREAU OF
INVESTIGATION; ROBERT                         ORDER
MUELLER, Director of the Federal
Bureau of Investigation, in his official
capacity; STEVEN M. MARTINEZ,
Assistant Director in Charge, Federal
Bureau of Investigation’s Los Angeles
Division, in his official capacity; PAT
ROSE; KEVIN ARMSTRONG; PAUL
ALLEN,

             Defendants,

 And

BARBARA WALLS; J. STEPHEN
TIDWELL,

             Defendants - Appellants.



YASSIR FAZAGA; ALI UDDIN MALIK;               No. 12-56874
YASSER ABDELRAHIM,
                                              D.C. No. 8:11-cv-00301-CJC-
             Plaintiffs - Appellees,          VBK
                                              Central District of California,
        Case: 12-56867, 11/16/2015, ID: 9756241, DktEntry: 102, Page 2 of 3




v.                                             Santa Ana

FEDERAL BUREAU OF
INVESTIGATION; ROBERT
MUELLER, Director of the Federal
Bureau of Investigation, in his official
capacity; STEVEN M. MARTINEZ,
Assistant Director in Charge, Federal
Bureau of Investigation’s Los Angeles
Division, in his official capacity; J.
STEPHEN TIDWELL; BARBARA
WALLS,

             Defendants,

 And

PAT ROSE; KEVIN ARMSTRONG;
PAUL ALLEN,

             Defendants - Appellants.



YASSIR FAZAGA; ALI UDDIN MALIK;                No. 13-55017
YASSER ABDELRAHIM,
                                               D.C. No. 8:11-cv-00301-CJC-
             Plaintiffs - Appellants,          VBK
                                               Central District of California,
v.                                             Santa Ana

FEDERAL BUREAU OF
INVESTIGATION; ROBERT
MUELLER, Director of the Federal
Bureau of Investigation, in his official
capacity; STEVEN M. MARTINEZ,
Assistant Director in Charge, Federal
Bureau of Investigation’s Los Angeles
Division, in his official capacity; J.
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STEPHEN TIDWELL; BARBARA
WALLS; PAT ROSE; KEVIN
ARMSTRONG; PAUL ALLEN; UNITED
STATES OF AMERICA,

              Defendants - Appellees.


      Plaintiffs-Appellants have filed a motion for partial reconsideration of the

Court’s March 17, 2015 order permitting the Government Defendants (“the

Government”) to file ex parte legal argument. The Government has told the Court

“that the classified brief merely discusses the factual material in the classified

declaration and contains no citations to legal authority.” Response to

Supplemental Filing on Motion for Reconsideration at 5, Fazaga v. FBI, Nos. 12-

56867, 12-56874, 13-55017 (9th Cir. Sept. 24, 2015), ECF No. 84. We have

reviewed the brief and confirmed that this is the case. As the panel will read the

classified declarations in their entirety, the classified brief does not add anything to

the Court’s consideration of the case. We therefore strike it.



                                                FOR THE COURT:

                                                Molly C. Dwyer
                                                Clerk of Court

                                                By: Omar Cubillos
                                                Deputy Clerk
